         Case 1:18-mc-00167-ABJ Document 49 Filed 03/11/19 Page 1 of 4



                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA,           )
                                    )
            v.                      )
                                    )
PAUL J. MANAFORT, JR.,              )
                                    )
                  Defendant.        )
____________________________________)
                                    )
IN RE: PETITIONS FOR RELIEF         )
CONCERNING CONSENT ORDER OF )          Case No. 1:18-mc-00167-ABJ
FORFEITURE                          )
____________________________________)

       UNITED STATES’ UNOPPOSED MOTION FOR EXTENSION OF TIME
      IN WHICH TO RESPOND TO MOTION FOR SUMMARY JUDGMENT OF
                      PETITIONER WOODLAWN LLC

       The United States of America, by and through its undersigned counsel, respectfully

moves this Court pursuant to Fed. R. Civ. P. 6(b)(1) and Fed. R. Crm. P. 45(b) for an

enlargement of time until on or before March 22, 2019, in which to respond to Petitioner

Woodlawn LLC’s Motion for Summary Judgment and Incorporated Memorandum of Law (Dkt.

No. 44). Woodlawn LLC (“Petitioner” or “Woodlawn”) filed its motion on February 25, 2019,

and the government’s response is currently due on March 11, 2019. The brief extension will

permit the United States an opportunity to provide a more fulsome response to Woodlawn’s

dispositive motion and more completely apprise the Court of pertinent legal and factual matters

relevant to its consideration of the motion. Petitioner Woodlawn does not oppose the requested

extension.

       In support of this motion, the government states:




                                                1
            Case 1:18-mc-00167-ABJ Document 49 Filed 03/11/19 Page 2 of 4



       1.       On November 30, 2018, the Court docketed the Petition of Woodlawn (the

“Petition”), a Nevada limited liability company. (Dkt. No. 15).

       2.       Woodlawn subsequently submitted three additional documents purporting to

amend this petition: On December 13, 2018, Woodlawn transmitted an Amended Petition in

Opposition to Order of Forfeiture to the Clerk’s Office, which was docketed on December 17,

2018. (Dkt. No. 17). On January 4, 2019, Petitioner retained new counsel and filed what was

styled as a Second Amended Petition (Dkt. No. 20) and a Second Amended Petition (Corrected)

(Dkt. No. 21) on January 4 and 7, 2019.

       3.       The United States and Woodlawn’s new counsel subsequently conferred

regarding the nature of Woodlawn’s interest and the possibility of reaching agreement on

informal discovery to provide the government with a basis for consideration of Petitioner’s

claims. See U.S. Report and Mtn. to Modify (Dkt. No. 35 at ¶ 5); U.S. Mtn. to Modify (Dkt. No.

41 at ¶ 4); U.S. Mtn. to Modify (Dkt. No. 42 at ¶ 3).

       4.       Although Petitioner advised that it had access to information responsive to the

United States’ requests, Woodlawn refused to provide information regarding the identity of the

owner of Woodlawn or other information absent a confidentiality agreement, which the

government declined.

       5.       On February 25, 2019, Petitioner filed its Motion for Summary Judgment.

       6.       In response to Woodlawn’s motion and in support of an anticipated motion for

discovery under Rule 56(d) of the Federal Rules of Civil Procedure, the United States requests

additional time in which to confer with FBI and among counsel in order to compile the necessary

information and complete the required affidavit and other filings. In light of Manafort’s March

7, 2019, sentencing in United States v. Paul J. Manafort, 1:18-cr-83 (TSE) in the U.S. District



                                                 2
             Case 1:18-mc-00167-ABJ Document 49 Filed 03/11/19 Page 3 of 4



Court for the Eastern District of Virginia and upcoming sentencing in this action on March 13,

2019, the United States has had insufficient opportunity to confer among FBI and government

counsel involved in the investigation and forfeiture proceedings regarding Woodlawn’s petition

or to prepare a fulsome response.

        7.       Nevertheless, during this period, counsel for the United States has taken further

action to advance these ancillary proceedings, including by concluding negotiations and

submitting a settlement with another petitioner, as well as continuing to prepare for and confer

with opposing counsel regarding other outstanding petitions.

        8.       There is good cause for the Court to grant the government’s unopposed request

for an extension. An enlargement until March 22, 2019, will permit the government to prepare a

more complete response to Woodlawn’s motion and to describe and address the factual and legal

issues involved in Woodlawn’s Petition as it relates to the motion for summary judgment.

Because Woodlawn’s motion seeks dispositive relief, the United States has a heightened interest

in a sufficient opportunity to respond. A more complete record also will provide the Court with

a more comprehensive basis upon which to make its determination and, therefore, is in the

interest of justice.

        9.       A short extension of eleven days will not prejudice Woodlawn, which does not

oppose the extension.

        10.      Pursuant to Local Rule 7(m), counsel for the United States has conferred with

counsel for Woodlawn, who indicates Petitioner does not oppose an extension until March 22,

2019.




                                                  3
         Case 1:18-mc-00167-ABJ Document 49 Filed 03/11/19 Page 4 of 4



       11.    Wherefore, the United States respectfully requests that the Court grant this motion

for an enlargement of time until March 22, 2019, in which to respond to the Petitioner

Woodlawn’s Motion for Summary Judgment. A proposed order is attached.


                                            Respectfully submitted,

                                            ROBERT S. MUELLER, III
                                            Special Counsel

                                     By:    _______________________
                                            Andrew Weissmann
                                            Jeannie S. Rhee (D.D.C. Bar No. 464127)
                                            Greg D. Andres (D.D.C. Bar No. 459221)
                                            U.S. Department of Justice
                                            Special Counsel’s Office
                                            950 Pennsylvania Avenue NW
                                            Washington, D.C. 20530
                                            Telephone: (202) 616-0800

                                     By:    /s/ Daniel H. Claman
                                            Daniel H. Claman
                                            Money Laundering and
                                                Asset Recovery Section
                                            Criminal Division
                                            U.S. Department of Justice
                                            1400 New York Avenue, N.W., Suite 10100
                                            Washington, D.C. 20530
                                            Telephone: (202) 514-1263

                                            Counsel for the United States of America




                                                4
